Case 1:24-cv-06263-PKC-RML            Document 21-7     Filed 02/20/25   Page 1 of 25 PageID
                                            #: 92



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  PEDRO CRUZ-PEÑA, on behalf of himself,
  individually, and on behalf of all others similarly
  situated,
                                                            24 CV 6263 (PKC) (RML)
                         Plaintiff,

           -against-

  GREAT KITCHEN SUPPORT CORP., and
  CHRISTIAN DIAZ, individually,

                         Defendants.




                       MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION,
                       DISCLOSURE OF CONTACT INFORMATION,
                            LEAVE TO DISTRIBUTE NOTICE,
             AND EQUITABLE TOLLING PURSUANT TO 29 U.S.C. § 216(b)




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 February 20, 2025
Case 1:24-cv-06263-PKC-RML                           Document 21-7                 Filed 02/20/25              Page 2 of 25 PageID
                                                           #: 93



                                                    TABLE OF CONTENTS


 TABLE OF AUTHORITIES .......................................................................................................... ii

 PRELIMINARY STATEMENT .................................................................................................... 1

 PROCEDURAL HISTORY AND PERTINENT FACTS .............................................................. 1

 ARGUMENT .................................................................................................................................. 2

    I.    The Remedial Purposes of the FLSA Warrant Prompt and Accurate Notice to
          Potential Collective Action Members....................................................................................2

    II. Plaintiffs Easily Satisfy the Lenient Standards for Conditional Certification and
        Sending Notice to the Potential Collective Action Members. ...............................................5

    III. The Court Should Order that Notice and a Reminder Notice Be Sent to Potential
         Collective Action Members and Order Defendant to Produce Complete Contact
         Information for All Potential Collective Action Members ..................................................12




 CONCLUSION ............................................................................................................................. 19
Case 1:24-cv-06263-PKC-RML                             Document 21-7                  Filed 02/20/25               Page 3 of 25 PageID
                                                             #: 94



                                                   TABLE OF AUTHORITIES

                                                                     Cases

 Aguilo v. Vails Gate Cleaners Inc., 2020 WL 3545558 (S.D.N.Y. June 30, 2020) ..................... 10
 Alvarado v. Villas Market Place Inc, 2020 WL 91489 (S.D.N.Y. Jan. 8, 2020) .................... 10, 14
 Alvarez v. Schnipper Restaurants, LLC, 2017 WL 6375793 (S.D.N.Y. Dec. 12, 2017) ......... 7, 11
 aniere v. Citigroup, Inc., 827 F. Supp. 2d 294 (S.D.N.Y. 2011) .......................................... 3, 8, 15
 Barron v. Casa Luis Corp., 2022 WL 2467595 (E.D.N.Y. Jan. 21, 2022) ............................ passim
 Benavides v. Serenity Spa NY Inc., 166 F. Supp. 3d 474 (S.D.N.Y. 2016) ........................... 14, 15
 Bowens v. Atl. Maint. Corp., 546 F. Supp. 2d 55 (E.D.N.Y. 2008) ............................................... 7
 Braunstein v. E. Photographic Labs, Inc., 600 F.2d 335 (2d Cir. 1978)......................................... 4
 Braunstein v. E. Photographic Labs, Inc., 600 F.2d 335, 336 (2d Cir. 1978)................................. 4
 Cabrera v. 211 Garage Corp., 2008 WL 3927457 (S.D.N.Y. Aug. 22, 2008) ................................ 7
 Cabrera v. Stephens, 2017 WL 4326511 (E.D.N.Y. Sept. 28, 2017) ..................................... 17, 18
 Chamorro v. Bahman Ghermezian, No. 12–cv–8159 (TPG) (S.D.N.Y. Feb. 25, 2013) .............. 17
 Cheng Chung Liang v. J.C. Broadway Rest., Inc., 2013 WL 2284882 (S.D.N.Y. May 23,
  2013).......................................................................................................................................... 11
 Cuaya v. VI Dev. Grp., LLC, 2020 WL 5494371 (S.D.N.Y. Sept. 10, 2020) ................................ 9
 Cunningham v. Elec. Data Sys. Corp., 754 F. Supp. 2d 638(S.D.N.Y. 2010) ........................... 7, 8
 Cuzco v. Orion Builders, Inc., 477 F. Supp. 2d 628 (S.D.N.Y. 2007) ......................................... 12
 Diaz v. Weinstein Landscaping, 2022 WL 801493 (E.D.N.Y. Feb. 28, 2022) ...................... 13, 14
 Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016) ......................................................... 2
 Fasanelli v. Heartland Brewery, Inc., 516 F. Supp. 2d 317 (S.D.N.Y. 2007) ................................ 4
 Fasanelli v. Heartland Brewery, Inc., 516 F. Supp. 2d 317(S.D.N.Y. 2007) ............................. 4, 9
 Garcia v. Chipotle Mexican Grill, Inc., 2016 WL 6561302 (S.D.N.Y. Nov. 4, 2016) ................. 13
 Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66 (2013) ........................................................... 3
 Gjurovich v. Emmanuel’s Marketplace, Inc., 282 F. Supp. 2d 101 (S.D.N.Y. 2003) .................... 8
 Glatt v. Fox Searchlight Pictures Inc., 2013 WL 4834428 (S.D.N.Y. Aug. 26, 2013) ................ 18


                                                                         ii
Case 1:24-cv-06263-PKC-RML                              Document 21-7                  Filed 02/20/25                Page 4 of 25 PageID
                                                              #: 95



 Glatt v. Fox Searchlight Pictures, Inc., 811 F.3d 528 (2d Cir. 2016) ....................................... 5, 18
 Gortat v. Capala Bros., Inc., 2010 WL 1423018 (E.D.N.Y. Apr. 9, 2010); ................................... 8
 Guo Qing Wang v. H.B. Rest. Grp., Inc., 2014 WL 5055813 (S.D.N.Y. Oct. 7, 2014)............... 11
 Hallissey v. Am. Online, Inc., 2008 WL 465112 (S.D.N.Y. Feb. 19, 2008) .................................. 9
 Hart v. Crab Addison, 2015 WL 365785 (W.D.N.Y. Jan. 27, 2015) ........................................... 18
 Hernandez v. Bare Burger Dio Inc., 2013 WL 3199292 (S.D.N.Y. June 25, 2013) .............. 11, 15
 Hernandez v. Merrill Lynch & Co., Inc., 2012 WL 1193836 (S.D.N.Y. Apr. 6, 2012) ............... 15
 Hoffmann v. Sbarro, Inc., 982 F. Supp. 249 (S.D.N.Y. 1997) ....................................................... 4
 Hoffmann, 982 F.Supp. at 262-63 .................................................................................................. 4
 Hoffmann-LaRoche, Inc. v. Sperling, 493 U.S. 165 (1989) ..................................................... 4, 13
 Imbarrato v. Banta Mgmt. Servs., Inc., 2022 WL 1210868 (S.D.N.Y. Apr. 25, 2022) ................ 16
 In re Penthouse Exec. Club Comp. Litig., 2010 WL 4340255 (S.D.N.Y. Oct. 27, 2010) .......... 7, 9
 Jackson v. Bloomberg, L.P., 298 F.R.D. 152 (S.D.N.Y. 2014) .................................................... 18
 Jeong Woo Kim v. 511 E. 5th St., LLC, 985 F. Supp. 2d 439 (S.D.N.Y. 2013) ............................ 9
 Jinquan Yin v. Pomodoro Italian Express Inc., 2019 WL 13694969 (S.D.N.Y. Mar. 11,
   2019)............................................................................................................................................ 8
 Juarez v. 449 Rest., Inc., 29 F. Supp. 3d 363 (S.D.N.Y. 2014) ...................................................... 4
 Julian v. Metlife, Inc., 298 F. Supp. 3d 699 (S.D.N.Y. 2018) ............................................ 7, 12, 14
 Khamsiri v. George & Frank’s Japanese Noodle Restaurant Inc., 2012 WL 1981507
  (S.D.N.Y. June 1, 2012) ............................................................................................................ 12
 Klimchak v. Cardona, Inc., 2011 WL 1120463(E.D.N.Y. Mar. 24, 2011) .................................... 8
 Knox v. John Varvatos Enterprises Inc., 2017 WL 4675781(S.D.N.Y. Oct. 17, 2017) ............... 15
 Leonardo v. ASC, Inc., 2018 WL 5981996 (S.D.N.Y. Nov. 14, 2018) ........................................ 14
 Lovelace v. Land Appliance Services, Inc., 2020 WL 8921382 (E.D.N.Y. Jan. 3, 2020) ... 5, 6, 14
 Lynch v. United Services Auto. Ass’n, 491 F. Supp. 2d 357 (S.D.N.Y. 2007).............................. 3
 Malloy v. Richard Fleischman & Assocs. Inc., 2009 WL 1585979 (S.D.N.Y. June 3,
  2009)............................................................................................................................................ 7
 Marin v. Apple-Metro, Inc., 2014 WL 7271591 (E.D.N.Y. Sept. 16, 2014) ................................ 13


                                                                         iii
Case 1:24-cv-06263-PKC-RML                              Document 21-7                  Filed 02/20/25               Page 5 of 25 PageID
                                                              #: 96



 Mark v. Gawker Media LLC, 2014 WL 4058417 (S.D.N.Y. Aug. 15, 2014) ................................ 4
 Martin v. Sprint/united Management Co., 2016 WL 30334 (S.D.N.Y. Jan. 4, 2016) .................. 14
 McGlone v. Contract Callers, 867 F. Supp. 2d 438 (S.D.N.Y. 2012) .......................................... 18
 Meyers v. Hertz Corp. 624 F.3D 537 (2d. Cir. 2010) ..................................................................... 1
 Mongiove v. Nate’s Corp., 2016 WL 590460 (E.D.N.Y. Feb. 11, 2016). .................................... 16
 Nabi v. Hudson Group (HG) Retail, LLC, 310 F.R.D. 119 (S.D.N.Y. 2015) ................................ 7
 Pefanis v. Westway Diner, Inc., 2008 WL 4546526 (S.D.N.Y. Oct. 8, 2008) ............................. 12
 Puglisi V. T.D. Bank, Inc., 998 F. Supp. 2d 95 (E.D.N.Y. 2014) .............................................. 5, 6
 Racey v. Jay-Jay Cabaret, Inc., 2016 WL 3020933 (S.D.N.Y. May 23, 2016) ............................ 16
 Ramirez v. M L Rest., Corp., 2015 WL 12564227 (S.D.N.Y. Mar. 13, 2015) ............................ 12
 Ramos v. Platt, 2014 WL 3639194 (S.D.N.Y. July 23, 2014) ...................................................... 11
 Raniere v. Citigroup, Inc., 533 Fed. Appx. 11 (2d Cir. 2013) ........................................................ 3
 Raniere v. Citigroup, Inc., 827 F. Supp. 2d 294 (S.D.N.Y. 2011) .................................................. 3
 Rashid v. Majmundar, 2013 WL 11319388 (S.D.N.Y. Apr. 4, 2013) ............................................ 7
 Realite v. Ark Rests., 7 F. Supp. 2d 303 (S.D.N.Y. 1998) ............................................................. 8
 Richards v. Empire Scaffolding Systems, Inc., 2022 WL 2384154 (S.D.N.Y. July 1,
   2022).......................................................................................................................................... 16
 Romero v. La Revise Assoc., L.L.C., 968 F. Supp. 2d 639 (S.D.N.Y. 2013) .............................. 11
 Rosa v. Dhillon, 2020 WL 7343071 (E.D.N.Y. Dec. 14, 2020) ................................................... 14
 Sanchez v. El Rancho Sports Bar Corp., 2014 WL 1998236 (S.D.N.Y. May 13, 2014) ............... 7
 Scott v. Chipotle Mexican Grill, Inc., 954 F.3d 502 (2d Cir. 2020) ........................................... 3, 4
 Serrano v. C.R. Landscaping and Tree Services Corp., 2022 WL 2467694 (E.D.N.Y. Jan.
   1, 2022).......................................................................................................................... 14, 15, 16
 Sexton v. Franklin First Fin., Ltd., 2009 WL 1706535 (E.D.N.Y. June 16, 2009) ...................... 15
 She Jian Guo v. Tommy’s Sushi, Inc., 2014 WL 5314822 (S.D.N.Y. Oct. 16, 2014) ................... 7
 Sultonmurodov v. Mesivita of Long Beach, 2015 WL 5918415 (E.D.N.Y. Oct. 9, 2015) .... 13, 16
 Taveras v. LSTD, LLC, 2018 WL 4103493 (S.D.N.Y. Aug. 28, 2018) ................................. 11, 15
 Torres v. Gristede’s Operating Corp., 2006 WL 2819730 (S.D.N.Y. Sept. 29, 2006) ................... 7

                                                                         iv
Case 1:24-cv-06263-PKC-RML                            Document 21-7                 Filed 02/20/25              Page 6 of 25 PageID
                                                            #: 97



 Valerio v. RNC Industries, LLC, 2:14-cv-03761 (LDW)(AKT) (E.D.N.Y. Jun. 24, 2016) ........ 16
 Williams v. TSU Global Serv., Inc., 2018 WL 6075668 (E.D.N.Y. Nov. 20, 2018 .............. 5, 6, 9
 Winfield v. Citibank, N.A., 843 F. Supp. 2d 397 (S.D.N.Y. 2012) ................................................ 6
 Yahraes v. Rest. Assocs. Events Corp., 2011 WL 844963 (E.D.N.Y. Mar. 8, 2011) .................. 18
 Yang v. Rainbow Nails Salon IV Inc., 2019 WL 2166686 (E.D.N.Y. May 16, 2019) .................. 6
 Yap v. Mooncake Food Inc., 146 F. Supp. 3d 552 (S.D.N.Y. 2015) ............................................ 15
 Young v. Cooper Cameron Corp., 229 F.R.D. 50 (S.D.N.Y. 2005) ............................................. 15

                                                                  Statutes

 29 U.S.C. § 207(a) .......................................................................................................................... 3
 29 U.S.C. § 216(b) .................................................................................................................. 1, 3, 5




                                                                       v
Case 1:24-cv-06263-PKC-RML             Document 21-7         Filed 02/20/25      Page 7 of 25 PageID
                                             #: 98



                                  PRELIMINARY STATEMENT

        Named Plaintiff Pedro Cruz-Pena, and opt-in Plaintiffs Dianelba Suriel and Amalia

 Godinez (together as “Plaintiffs”), move this Court for an order conditionally certifying a Fair

 Labor Standards Act (“FLSA”) collective action pursuant to 29 U.S.C. § 216(b), requiring from

 Defendant Great Kitchen Support Corp (“Defendant”) the disclosure of the potential collective

 members’ contact information, authorizing the distribution of notice, by various means, to

 potentially affected individuals in the manners described below, and equitably tolling the statute

 of limitations. The Court should grant the motion so that current and former employees who

 worked for Defendant as cooks or kitchen helpers, at any location in New York City, at any time

 between September 6, 2021, and the present, can receive notice of their right to participate in this

 action. Plaintiffs seek this relief in accordance with the overwhelming precedent in this Circuit,

 and from this Court, to grant conditional certification of FLSA collective actions after a plaintiff

 has met his low burden by making a “modest factual showing” that he and potential opt-in plaintiffs

 “together were victims of a common policy or plan that violated the law.” Barron v. Casa Luis

 Corp., 2022 WL 2467595, at * 2 (E.D.N.Y. Jan. 21, 2022) (Tiscione, J.) (citing Myers v. Hertz

 Corp., 624 F.3D 537, 554-55 (2d. Cir. 2010)).

                    PROCEDURAL HISTORY AND PERTINENT FACTS

        On September 6, 2024, Cruz-Pena filed this action on behalf of himself, individually, and

 on behalf of all others similarly-situated, seeking relief for Defendant’s violations of the overtime

 provisions of the FLSA, as well as various provisions of the New York Labor Law and its

 supporting regulations. (See Compl., ECF No. 1). That same day, Cruz-Pena, along with opt-in

 Plaintiff Suriel, both filed their consents to become a party in this collective action, thereby opting

 into the case. (ECF Nos. 4-5). On December 16, 2024, opt-in plaintiff Godinez filed her consent

 to join this lawsuit. (ECF No. 15). On December 20, 2024, Defendant filed its Answer. (ECF
Case 1:24-cv-06263-PKC-RML            Document 21-7       Filed 02/20/25      Page 8 of 25 PageID
                                            #: 99



 No. 16). In February 2025, Plaintiffs sought Defendant’s consent to conditional certification, and

 the parties discussed the matter with the Court during the Rule 16 conference held on February 10,

 2025. Defendants have not consented to conditional certification, but also have not responded to

 requests for their position or any grounds for opposition. (See Consiglio Decl.). Further, although

 Defendant’s counsel represented to the Court that he would promptly serve Rule 26(a) initial

 disclosures, that has not yet been done. (See id.).

        For the pertinent facts on this motion, the Court is respectfully referred to Plaintiff Cruz-

 Pena’s Complaint in this action and Declaration accompanying this motion. In sum, Plaintiffs are

 cooks and kitchen assistants who prepare and package food for delivery in Defendant’s catering

 business at three locations in Brooklyn and the Bronx. They worked shifts of between 11 and 15

 hours per day, six or seven days per week, for totals typically of 63 or 73.5 hours in a week. They

 were paid random weekly amounts varying from $583 to $990. The variation in amounts did not

 correspond to the number of hours worked per week, but was determined arbitrarily by Defendants.

 In no case did they receive the requisite time-and-a-half of minimum wage for their hours worked

 over 40 hours in a given week. On occasion they discussed their pay with other employees and

 understood that the other kitchen employees were paid in the same arbitrary manner and not in

 compliance with FLSA’s overtime requirement.

                                           ARGUMENT

 I.     The Remedial Purposes of the FLSA Warrant Prompt and Accurate Notice to
        Potential Collective Action Members.
        “The FLSA requires employers to pay overtime compensation to covered employees who

 work more than 40 hours in a given week. The rate of overtime pay must be ‘not less than one

 and one-half times the regular rate’ of the employee’s pay.” Encino Motorcars, LLC v. Navarro,

 136 S. Ct. 2117, 2121 (2016) (quoting 29 U.S.C. § 207(a)). Further, as the Second Circuit has


                                                  2
Case 1:24-cv-06263-PKC-RML            Document 21-7        Filed 02/20/25      Page 9 of 25 PageID
                                            #: 100



 confirmed, the FLSA establishes a substantive right for an employee to bring an action by or on

 behalf of any other similarly-situated employees, and a right of any employee to become a party

 plaintiff to any such action, Scott v. Chipotle Mexican Grill, Inc., 954 F.3d 502, 516 (2d Cir. 2020)

 (citing 29 U.S.C. § 216(b)), and specifically provides that any employer who fails to pay its

 employees required overtime compensation:

                [s]hall be liable to the employee or employees affected in the amount
                of . . . their unpaid overtime compensation . . . and in an additional
                equal amount as liquidated damages.

 29 U.S.C. § 216(b).

        Pursuant to 29 U.S.C. § 216(b), and unlike Rule 23 class actions, which the Second Circuit

 has distinguished as a mere procedural mechanism, Scott, 954 F.3d at 515, individuals who wish

 to join a collective action must file with the court a written consent that the action may proceed on

 their behalf. Id. Indeed, the Supreme Court has characterized § 216(b) as a “joinder process.”

 Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 75 n.1 (2013).               “FLSA actions are,

 consequently, not true representative actions as under Rule 23, but instead those actions brought

 about by individual employees who affirmatively join a single suit.” Raniere v. Citigroup, Inc.,

 827 F. Supp. 2d 294, 313 (S.D.N.Y. 2011) (rev’d on other grounds, Raniere v. Citigroup, Inc., 533

 Fed. Appx. 11 (2d Cir. 2013)). Thus, “[n]o employee shall be a party plaintiff to any such action

 unless he gives his consent in writing to become such a party and such consent is filed in the court

 in which such action is brought.” 29 U.S.C. § 216(b).

        Until an absent collective action member opts-in, the statute of limitations on his/her claims

 continues to run. 29 U.S.C. § 255(a); Lynch v. United Services Auto. Ass’n, 491 F. Supp. 2d 357,

 371 (S.D.N.Y. 2007). It is thus important that notice be given promptly to preserve the claims of

 collective action members, and it is not uncommon for courts to approve expedited notice. See



                                                  3
Case 1:24-cv-06263-PKC-RML            Document 21-7         Filed 02/20/25      Page 10 of 25 PageID
                                            #: 101



 Braunstein v. E. Photographic Labs, Inc., 600 F.2d 335, 336 (2d Cir. 1978); Hoffmann v. Sbarro,

 Inc., 982 F. Supp. 249, 262 (S.D.N.Y. 1997) (Sotomayor, J.).

           In Hoffmann-LaRoche, Inc. v. Sperling, 493 U.S. 165, 170 (1989), the Supreme Court

 recognized the importance of collective members receiving “accurate and timely” notice about a

 pending FLSA action so that they can take action. The Supreme Court noted that the “collective

 action” mechanism provides individuals with “the advantage of lower individual costs to vindicate

 rights by the pooling of resources,” which results in the “efficient resolution in one proceeding of

 common issues of law and fact arising from the same alleged [FLSA violation].” Id. at 170. Even

 though 29 U.S.C. § 216(b) does not require parties to obtain judicial approval before seeking to

 advise other similarly-situated persons of their FLSA rights, district courts routinely expedite and

 facilitate notice to potential opt-in plaintiffs by “conditionally certifying” the § 216(b) collective.

 See, e.g., Scott, 954 F.3d at 515; Myers, 624 F.3d at 554; Mark v. Gawker Media LLC, 2014 WL

 4058417, at *2 (S.D.N.Y. Aug. 15, 2014) (“District courts have discretion to facilitate this

 collective action mechanism by authorizing that notice be sent to potential plaintiffs informing

 them of the pendency of the action and of their opportunity to opt-in as represented plaintiffs.”)

 (citation omitted); see also Juarez v. 449 Rest., Inc., 29 F. Supp. 3d 363, 369 (S.D.N.Y. 2014)

 (same).

           Conditional certification furthers the FLSA’s “broad remedial purpose,” Braunstein, 600

 F.2d at 336; accord Hoffmann, 982 F. Supp. at 262-63, and is justified by a court’s “managerial

 responsibility to oversee the joinder of additional parties to assure that the task is accomplished in

 an efficient and proper way.” Hoffmann-LaRoche, 493 U.S. at 170-71; Fasanelli v. Heartland

 Brewery, Inc., 516 F. Supp. 2d 317, 321 (S.D.N.Y. 2007) (“when determining whether a matter




                                                   4
Case 1:24-cv-06263-PKC-RML           Document 21-7         Filed 02/20/25      Page 11 of 25 PageID
                                           #: 102



 shall proceed as a collective action, courts should be mindful of the remedial purposes of the

 FLSA”).

 II.    Plaintiffs Easily Satisfy the Lenient Standards for Conditional Certification and
        Sending Notice to the Potential Collective Action Members.
        The sole requirement for granting a motion for conditional certification and authorizing

 notice is merely to determine whether the plaintiff and potential opt-in plaintiffs “are sufficiently

 ‘similarly situated’ to issue notice and allow the case to proceed as a collective action through

 discovery.” Barron, 2022 WL 2467595, at *2 (quoting Myers, 624 F.3d at 555); Lovelace v. Land

 Appliance Services, Inc., 2020 WL 8921382, at *3 (E.D.N.Y. Jan. 3, 2020) (Tiscione, J.) (same);

 Williams v. TSU Global Serv., Inc., 2018 WL 6075668, at *4 (E.D.N.Y. Nov. 20, 2018) (Tiscione,

 J.) (same); Puglisi V. T.D. Bank, Inc., 998 F. Supp. 2d 95, 99 (E.D.N.Y. 2014) (Brown, J.)

 (certifying a nationwide collective after recognizing that “[t]he first step requires only a modest

 factual showing sufficient to demonstrate [plaintiffs] and potential plaintiffs together were victims

 of a common policy or plan that violated the law”) (internal citations and quotations omitted). This

 is only a preliminary determination, because as the Second Circuit has recognized, courts within

 it “have coalesced around a two-step method, a method which, while again not required by the

 terms of [the] FLSA or the Supreme Court’s cases, we think is sensible.” Myers, 624 F.3d at 554-

 55; see also Glatt v. Fox Searchlight Pictures, Inc., 811 F.3d 528, 540 (2d Cir. 2016). “The first

 step involves the court making an initial determination to send notice to potential opt-in plaintiffs

 who may be ‘similarly situated’ to the named plaintiffs with respect to whether a[n] FLSA

 violation has occurred.” Myers, 624 F.3d at 555; Hoffman, 982 F.Supp. at 261.

        The Second Circuit, in Scott, recently reaffirmed its endorsement of this two-step process

 for certifying FLSA collective actions based on the “similarly situated” requirement, and also

 provided clear guidance on what being “similarly situated” in this context means. 954 F.3d at 516.


                                                  5
Case 1:24-cv-06263-PKC-RML            Document 21-7         Filed 02/20/25       Page 12 of 25 PageID
                                            #: 103



 In its decision, the Second Circuit acknowledged that the FLSA does not define the term “similarly

 situated” and that that court itself had previously “said little regarding what it [substantively]

 means to be ‘similarly situated’” for FLSA collective purposes, which had led to disparate results

 and analyses in the district courts. Id. To resolve that conflict among the district courts, the Second

 Circuit affirmatively defined the similarly situated standard as follows:

                [T]o be “similarly situated” means that named plaintiff[] and opt-in
                plaintiffs are alike with regard to some material aspect of their
                litigation. That is, party plaintiffs are similarly situated, and may
                proceed in a collective, to the extent they share a similar issue of law
                or fact material to the disposition of their FLSA claims. It follows
                that if named plaintiffs and party plaintiffs share legal or factual
                similarities material to the disposition of their claims, dissimilarities
                in other respects should not defeat collective treatment.

 Id. (internal punctuation and citation omitted).

        With that clear standard in mind, at step-one of the two-step process, the court may

 authorize the sending of notice after plaintiffs “make a ‘modest factual showing’ that they and

 potential opt-in plaintiffs ‘together were victims of a common policy or plan that violated the

 law.’” Barron, 2022 WL 2467595, at *2; Lovelace, 2020 WL 8921382, at *3 (same); Williams,

 2018 WL 6075668, at *4 (same); Puglisi, 998 F. Supp. 2d at 99 (same); Winfield v. Citibank, N.A.,

 843 F. Supp. 2d 397, 402 (S.D.N.Y. 2012) (“[P]laintiffs need only make a modest factual-showing

 that they and potential opt-in plaintiffs together were victims of a common policy or plan that

 violated the law.”). As the Second Circuit has explained, “[t]he modest factual showing . . . should

 remain a low standard of proof because the purpose of this first stage is merely to determine

 whether ‘similarly situated’ plaintiffs do in fact exist.” Myers, 624 F.3d at 555 (citations omitted).

        “Because the standard at the first stage is fairly lenient, courts applying it typically grant

 conditional certification.” Yang v. Rainbow Nails Salon IV Inc., 2019 WL 2166686, at *2

 (E.D.N.Y. May 16, 2019) (internal quotations and citations omitted); Rashid v. Majmundar, 2013

                                                    6
Case 1:24-cv-06263-PKC-RML               Document 21-7           Filed 02/20/25        Page 13 of 25 PageID
                                               #: 104



 WL 11319388, at *1 (S.D.N.Y. Apr. 4, 2013) (same); Malloy v. Richard Fleischman & Assocs.

 Inc., 2009 WL 1585979, at *2 (S.D.N.Y. June 3, 2009) (quoting Torres v. Gristede’s Operating

 Corp., 2006 WL 2819730, at *7 (S.D.N.Y. Sept. 29, 2006)) (“the court ‘typically grants

 conditional certification’”); see also Julian v. Metlife, Inc., 298 F. Supp. 3d 699, 702 (S.D.N.Y.

 2018) (remarking that the first stage of conditional certification is a low standard because the

 purpose is merely to determine whether similarly-situated individuals exist). As Justice Sotomayor

 wrote when sitting on the district court, at this stage, “[t]he burden on plaintiff is not a stringent

 one, and the Court need only reach a preliminary determination that potential plaintiffs are

 ‘similarly situated.’” Hoffmann, 982 F.Supp. at 261.1 It is “[a]t the second stage, when the court

 has a more developed record, [that] the named plaintiffs must prove that ‘the plaintiffs who have

 opted in are in fact similarly situated to the named plaintiffs.’” Nabi v. Hudson Group (HG) Retail,

 LLC, 310 F.R.D. 119, 122 (S.D.N.Y. 2015) (quoting She Jian Guo v. Tommy’s Sushi, Inc., 2014

 WL 5314822, at *2 (S.D.N.Y. Oct. 16, 2014)); accord Winfield, 843 F. Supp. 2d at 402, n.3 (“[T]he

 case law is clear that a heightened standard is not appropriate during the first stage of the

 conditional certification process and should only be applied once the entirety of discovery has been

 completed.”); Gjurovich v. Emmanuel’s Marketplace, Inc., 282 F. Supp. 2d 101, 105 (S.D.N.Y.



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   Accord, e.g., Alvarez v. Schnipper Restaurants, LLC, 2017 WL 6375793, at *2 (S.D.N.Y. Dec. 12, 2017)
 (“Because minimal evidence is available at this early stage of the proceedings, and because the Court
 retain[s] the ability to reevaluate whether the plaintiffs are similarly situated, Plaintiff faces a relatively
 lenient evidentiary standard.”) (citations and internal quotations omitted); Sanchez v. El Rancho Sports Bar
 Corp., 2014 WL 1998236, at *1 (S.D.N.Y. May 13, 2014) (“Plaintiffs’ burden at this stage is minimal.”)
 (citation and internal quotations omitted); In re Penthouse Exec. Club Comp. Litig., 2010 WL 4340255, at
 *2 (S.D.N.Y. Oct. 27, 2010) (describing plaintiff’s threshold requirements as “very low” or “minimal”);
 Cunningham v. Elec. Data Sys. Corp., 754 F. Supp. 2d 638, 643-44 (S.D.N.Y. 2010) (“the modest factual
 showing . . . should remain a low standard of proof”); Cabrera v. 211 Garage Corp., 2008 WL 3927457,
 at *1 (S.D.N.Y. Aug. 22, 2008) (“[p]laintiffs’ burden of showing other potential class members are
 ‘similarly situated’ is not onerous at this stage of the litigation”) (citations omitted); Bowens v. Atl. Maint.
 Corp., 546 F. Supp. 2d 55, 82 (E.D.N.Y. 2008) (“FLSA’s opt-in provision merely provides an opportunity
 for potential plaintiffs to join and is only a preliminary determination as to which potential plaintiffs may
 in fact be similarly situated.”) (citations omitted).

                                                        7
Case 1:24-cv-06263-PKC-RML            Document 21-7         Filed 02/20/25       Page 14 of 25 PageID
                                            #: 105



 2003) (“Should it become clear later that the parties who have opted-in are not similarly situated

 to the Plaintiff here, I will make any rulings that are necessary and appropriate to ensure that the

 case is properly formed.”); Realite v. Ark Rests., 7 F. Supp. 2d 303, 308 (S.D.N.Y. 1998) (“[P]art

 of the reason that the standard is so lenient at this point is that the ‘similarly situated’ finding can

 be revisited at the second stage of the certification process.”) (Sotomayor, J.).

         There are good reasons why the first stage burden is low. As Judge Glasser cogently

 explained:

                 Because the statute of limitations for FLSA claims continues to run
                 for each individual plaintiff until he or she opts in, see 29 U.S.C. §
                 216(b), early certification and notice are favored in order to protect
                 plaintiffs’ rights. Thus, only a minimal evidentiary burden is
                 imposed in order to satisfy the ‘similarly situated’ requirement . . .
                 The heightened scrutiny standard is only appropriate after the opt-in
                 period has ended and the court is able to examine whether the actual
                 plaintiffs brought into the case are similarly situated. It would not
                 sensibly serve the purposes of a two-step scheme to impose on
                 plaintiffs a heightened burden of proving that as-yet-unknown
                 plaintiffs are similarly situated.

 Gortat v. Capala Bros., Inc., 2010 WL 1423018, at *9-10 (E.D.N.Y. Apr. 9, 2010); accord, e.g.,

 Klimchak v. Cardona, Inc., 2011 WL 1120463, at *5 (E.D.N.Y. Mar. 24, 2011); Raniere, 827 F.

 Supp. 2d at 320-21; Cunningham, 754 F. Supp. 2d at 645.

         Concomitant with the minimal burden and the fact that the members of the collective action

 are not yet before the court, “the court does not resolve factual disputes, decide substantive issues

 going to the ultimate merits, or make credibility determinations” at the conditional certification

 stage. Jinquan Yin v. Pomodoro Italian Express Inc., 2019 WL 13694969, at *2 (S.D.N.Y. Mar.

 11, 2019) (citation omitted); Canelas, 2020 WL 8996702, at *1 (S.D.N.Y. May 5, 2020) (“Courts

 do not examine whether there has been an actual violation of law”) (internal quotations and

 citations omitted); see also Cuaya v. VI Dev. Grp., LLC, 2020 WL 5494371, at *6 (S.D.N.Y. Sept.



                                                    8
Case 1:24-cv-06263-PKC-RML           Document 21-7         Filed 02/20/25      Page 15 of 25 PageID
                                           #: 106



 10, 2020) (granting conditional certification based on one declaration that was replete with

 anecdotal hearsay and ambiguous observations and collecting cases); Jeong Woo Kim v. 511 E.

 5th St., LLC, 985 F. Supp. 2d 439, 445-46 (S.D.N.Y. 2013) (recognizing that “the burden is so low

 [at the conditional certification stage] that even one or two affidavits establishing the common plan

 may suffice”); Hallissey v. Am. Online, Inc., 2008 WL 465112, at *1 (S.D.N.Y. Feb. 19, 2008)

 (noting that plaintiffs may satisfy this burden by relying on “their own pleadings, affidavits,

 declarations, or the affidavits and declaration of other potential [collective] members”).

         Furthermore, “‘for conditional certification purposes, the court [should] draw all inferences

 in favor of the plaintiff[s].’” Williams, 2018 WL 6075668, at *4. Courts therefore do not weigh

 the merits of the underlying claims in determining whether potential opt-ins are similarly situated.

 Winfield, 843 F. Supp. 2d at 407 n.6 (“[C]ourts in this Circuit regularly conclude that [defendant’s]

 declarations do not undermine the plaintiffs’ showing in the first stage of the conditional

 certification process.”); In re Penthouse, 2010 WL 4340255, at *4 (rejecting defendants’

 submission of competing affidavits as “amount[ing] to a premature request to make credibility

 determinations and factual findings, something that is inappropriate at the notice stage”);

 Fasanelli, 516 F. Supp. 2d at 322 (“To the extent that [d]efendants’ opposition relies on a detailed

 factual dispute about whether the [d]efendants maintain an ‘illegal off-the-clock’ policy, ‘illegal

 tip retention’ policy, or fail to pay the minimum wage, that inquiry is misplaced as those issues go

 to the merits of the case.”).

         Here, Plaintiffs provide their supporting declarations, based on their personal observations,

 interactions, and conversations with other current and former Area and Territory Managers, who

 worked for Defendant while they did, nation-wide, which demonstrate that additional individuals,

 who are similarly-situated with respect to the Defendant’s treatment of them all, exist. See



                                                  9
Case 1:24-cv-06263-PKC-RML             Document 21-7         Filed 02/20/25        Page 16 of 25 PageID
                                             #: 107



 Knickerbocker Decl., ¶¶ 9-11; Coleman Decl., ¶¶ 9-11 Vogt Decl., ¶¶ 8-10. Plaintiffs all declare

 that they remember speaking with other Area and Territory Managers about their hours and pay,

 and collectively provide ten of their names. Knickerbocker Decl., ¶ 9; Coleman Decl., ¶ 9; Vogt

 Decl., ¶ 8. Additionally, Plaintiffs’ declarations demonstrably show that Defendant paid them

 according to a common practice of not paying them overtime premiums for hours that they worked

 over forty in a week, in violation of the law. Knickerbocker Decl., ¶ 11; Coleman Decl., ¶ 11; Vogt

 Decl., ¶ 10.

        This is all that is required - - in fact it is more than what is required - - for Plaintiffs to make

 their “modest factual showing” and to meet their “low” burden of proof. Indeed, courts in this

 Circuit regularly grant conditional certification motions on such evidence as the complaint or the

 complaint and one plaintiff’s affidavit alone. See, e.g., Barron, 2022 WL 2467595, at *3 (“Many

 courts, including this one, have found that allegations in the pleadings and the personal

 observations of one plaintiff’s affidavit are sufficient to make the modest factual showing

 necessary to conditionally certify [a] class.”) (internal citations omitted); Aguilo v. Vails Gate

 Cleaners Inc., 2020 WL 3545558, at *4 (S.D.N.Y. June 30, 2020) (granting conditional

 certification and finding that the named-plaintiff’s “declaration and the Complaint together

 establish the modest factual showing necessary to justify conditional certification of employees

 who performed work similar to her”) (citation and internal punctuation omitted); Canelas, 2020

 WL 8996702, at *1 (granting conditional certification based on the named-plaintiff’s affidavit

 alone); Alvarado v. Villas Market Place Inc., 2020 WL 91489, at *2 (S.D.N.Y. Jan. 8, 2020)

 (granting conditional certification based solely on the named-plaintiff’s affidavit, which included

 details about the timing and circumstances of his conversations with other workers concerning

 their alleged wage claims); Taveras v. LSTD, LLC, 2018 WL 4103493, at *2 (S.D.N.Y. Aug. 28,



                                                    10
Case 1:24-cv-06263-PKC-RML            Document 21-7        Filed 02/20/25      Page 17 of 25 PageID
                                            #: 108



 2018) (granting conditional certification where only the named-plaintiff “provided factual detail

 to explain the basis for his knowledge of how other employees were paid”); Alvarez, 2017 WL

 6375793, at *4 (“[C]ourts in this district routinely certif[y] conditional collective actions based on

 the plaintiff’s affidavit declaring they [sic] have personal knowledge that other coworkers were

 subjected to similar employer practices.”) (citations and internal quotations omitted); Guo Qing

 Wang v. H.B. Rest. Grp., Inc., 2014 WL 5055813, at *4 (S.D.N.Y. Oct. 7, 2014) (conditionally

 certifying collective action based on single plaintiff's personal knowledge based on “his

 observations and his conversations with his coworkers”); Ramos v. Platt, 2014 WL 3639194, at

 *3 (S.D.N.Y. July 23, 2014) (finding that plaintiff made modest factual showing in light of

 complaint and plaintiff’s declaration that described conversations with co-workers regarding

 defendants’ failure to pay overtime); Juarez, 29 F. Supp. 3d at 369 (“In assessing the adequacy of

 a plaintiff’s showing, district courts look to pleadings, affidavits, and declarations, but often

 authorize notice based solely on the personal observations of one plaintiff’s affidavit.”); Romero

 v. La Revise Assoc., L.L.C., 968 F. Supp. 2d 639, 646 (S.D.N.Y. 2013) (“The affidavit of a plaintiff

 attesting to the existence of similarly situated plaintiffs is sufficient for the purposes of a motion

 to approve a collective action.”); Cheng Chung Liang v. J.C. Broadway Rest., Inc., 2013 WL

 2284882, at *1 (S.D.N.Y. May 23, 2013) (finding that plaintiff’s affidavit was adequate evidence

 because in it, he testified that his co-workers were not paid properly, a granting conditionally

 certification motion).

        Importantly, there exists no requirement within this Circuit that a minimum number of

 employees opt-in before a court can conditionally certify a collective. See, e.g., Guo Qing Wang,

 2014 WL 5055813, at *4 (no opt-ins); Juarez, 29 F. Supp. 3d at 369 (no opt-ins); Hernandez v.

 Bare Burger Dio Inc., 2013 WL 3199292, at *3 (S.D.N.Y. June 25, 2013) (no opt-ins and



                                                  11
Case 1:24-cv-06263-PKC-RML           Document 21-7        Filed 02/20/25     Page 18 of 25 PageID
                                           #: 109



 conditional certification granted based solely on named plaintiff’s declaration); Khamsiri v.

 George & Frank’s Japanese Noodle Restaurant Inc., 2012 WL 1981507, at *1 (S.D.N.Y. June 1,

 2012) (no opt-ins and approving conditional collective certification based on single plaintiff’s

 affidavit confirming that she and other non-exempt employees of defendants in tipped positions,

 who performed work similar to her, were, inter alia, paid less than the statutory minimum wage

 and not paid overtime pay) (internal quotations omitted); Pefanis v. Westway Diner, Inc., 2008

 WL 4546526, at *1 (S.D.N.Y. Oct. 8, 2008) (no opt-ins); Cuzco v. Orion Builders, Inc., 477 F.

 Supp. 2d 628, 634 (S.D.N.Y. 2007) (no opt-ins and finding that “[t]he single named Plaintiff here

 has met his burden by successfully demonstrating that there are other workers who are similarly

 situated to him, and that is enough for this matter to move forward”).

        Here, Cruz-Pena has submitted a supporting Declaration, and two coworkers of his have

 joined the case as opt-in plaintiffs. Accordingly, Plaintiffs have easily satisfied their burden on

 this motion.

 III.   The Court Should Order that Notice and a Reminder Notice Be Sent to Potential
        Collective Action Members and Order Defendant to Produce Complete Contact
        Information for All Potential Collective Action Members
        Based on the foregoing, the Court should authorize Plaintiffs to disseminate notice to all

 potential members of the collective, defined as “current and former employees, who during the

 applicable FLSA limitations period of September 6, 2021 through the end of litigation, performed

 any work for Defendants as non-managerial cooks, or in a similar position, and who give consent

 to file a claim to recover unpaid overtime compensation and liquidated damages that are legally

 due to them.” See Myers, 624 F.3d at 555; Julian, 298 F. Supp. 3d at 707; Ramirez v. M L Rest.,

 Corp., 2015 WL 12564227, at *2 (S.D.N.Y. Mar. 13, 2015); Winfield, 843 F. Supp. 2d at 400-05.

 A proposed Notice of Lawsuit and Consent to Join form (“Notice”) is attached as Exhibit A to the

 accompanying Consiglio Declaration. This Notice provides clear instructions on how to opt-in

                                                 12
Case 1:24-cv-06263-PKC-RML           Document 21-7         Filed 02/20/25      Page 19 of 25 PageID
                                           #: 110



 and accurately states the prohibition against retaliation or discrimination for participation in an

 FLSA action. This Notice further explains the responsibilities that opt-in plaintiffs incur when

 joining the lawsuit including, inter alia, providing information relating to their employment with

 Defendant, appearing for a deposition, or testifying in court, and also unequivocally indicates, in

 numerous sections, that the recipient of the Notice is not necessarily entitled to monetary recovery.

 The Notice is “timely, accurate, and informative,” thus meeting all legal requirements. See

 Hoffmann-LaRoche, Inc., 493 U.S. at 172. The proposed Notice achieves the goal of providing

 potential opt-ins with accurate and timely notice concerning the pendency of the collective action

 and the Court should therefore adopt it.

                The Court Should Order the Notice Period to Date Back to Three Years Before
                the Filing of the Complaint
        Consistent with this Court’s prior rulings, Plaintiffs request that the Notice be sent to those

 similarly situated persons employed by Defendant at any time within three years of the filing of

 the Complaint through the present. See, e.g., Diaz v. Weinstein Landscaping, 2022 WL 801493, at

 *7 (E.D.N.Y. Feb. 28, 2022) (Tiscione, J.); Barron, 2022 WL 2467595, at *6 (same); accord

 Garcia v. Chipotle Mexican Grill, Inc., 2016 WL 6561302, at *9 (S.D.N.Y. Nov. 4, 2016);

 Sultonmurodov v. Mesivita of Long Beach, 2015 WL 5918415, at *4 (E.D.N.Y. Oct. 9, 2015)

 (“[T]he court holds that notices shall be sent out to those potential collective members employed

 within the three year period prior to the date of the filing of the Complaint. Defendants may

 challenge the timeliness of individual plaintiffs’ claims at a later date.”); Marin v. Apple-Metro,

 Inc., 2014 WL 7271591, at *3 (E.D.N.Y. Sept. 16, 2014) (permitting notice period “to run from

 three years prior to commencement of the action, rather than the date of the notice”).

        The Complaint in this case was filed on September 6, 2024. Thus, in order to provide

 notice of the action to all potentially affected individuals, Plaintiffs request that the Court order


                                                  13
Case 1:24-cv-06263-PKC-RML           Document 21-7        Filed 02/20/25      Page 20 of 25 PageID
                                           #: 111



 Defendant to produce the contact information described in Section III.B infra for those Area and

 Territory Managers who were employed with them at any time, regardless of location, within three

 years from the date of the filing of the Complaint, which is September 6, 2021, until the present.

                The Court Should Order Defendant to Produce Potential Collective Members’
                Contact Information
        In addition to certifying the collective action, and so as to facilitate notice distribution,

 Plaintiffs request that the Court also order Defendant to produce the following within fourteen

 days of its Order:

                A computer-readable data file containing the names, last known
                mailing addresses, all last known home and mobile telephone
                numbers, all known email addresses, and dates of employment of all
                potential collective action members.

 See, e.g., Diaz, 2022 WL 801493, at *11 (ordering defendants to produce the names, mailing

 addresses, emails, telephone numbers, dates of employment of potential members of the collective,

 and social media information); Serrano v. C.R. Landscaping and Tree Services Corp., 2022 WL

 2467694, at *11 (E.D.N.Y. Jan. 1, 2022) (Tiscione, J.) (ordering defendants to produce the names,

 mailing addresses, emails, telephone numbers, and dates of employment of potential members of

 the collective); Lovelace, 2020 WL 8921382, at *8 (same); Rosa v. Dhillon, 2020 WL 7343071,

 at *8 (E.D.N.Y. Dec. 14, 2020) (ordering defendants to disclose names, addresses, email addresses,

 and native languages of potential collective members); Alvarado, 2020 WL 91489, at *3 (ordering

 defendants to provide to plaintiff’s counsel “the contact information (including names, address,

 email addresses, and telephone numbers) and dates of employment of all potential members of the

 collective”); Julian, 298 F. Supp. 3d at 699 (granting plaintiff’s motion, including the request for

 contact information of potential opt-in plaintiffs); Leonardo v. ASC, Inc., 2018 WL 5981996, at

 *3 (S.D.N.Y. Nov. 14, 2018) (citing Benavides v. Serenity Spa NY Inc., 166 F. Supp. 3d 474, 488

 (S.D.N.Y. 2016) and Martin v. Sprint/united Management Co., 2016 WL 30334, at *19-20

                                                 14
Case 1:24-cv-06263-PKC-RML               Document 21-7          Filed 02/20/25        Page 21 of 25 PageID
                                               #: 112



 (S.D.N.Y. Jan. 4, 2016) (collecting cases)) (“Courts in this District commonly grant requests for

 the production of names, mailing addresses, email addresses, telephone numbers, and dates of

 employment in connection with the conditional certification of a FLSA collective action.”);

 Taveras, 2018 WL 4103493, at *2 (same).2

                  The Court Should Permit Plaintiffs to Send a Notice and a Reminder Notice via
                  Mail, Text Message, and Email, and Permit a Sixty-Day Opt-in Period
         With respect to the distribution of notice, Plaintiffs additionally request that the Court allow

 them to send reminder notices to the potential opt-in plaintiffs thirty days after the original mailing

 of notice in order to remind any potential collective members who have not yet joined the case of

 the impending deadline for their response, which would be sixty-days after sending the original

 notice. See, e.g., Serrano, 2022 WL 2467694, at *11 (granting plaintiffs’ request to send reminder

 notices to potential members of the collective); Barron, 2022 WL 2467595, at *6 (same); see also,

 e.g., Hernandez v. City of New York, 2017 WL 2829816, at *9 (S.D.N.Y. June 29, 2017) (holding

 that a sixty-day notice period is appropriate after recognizing that “[c]ourts in the Second Circuit

 generally provide opt-in periods of 60 days”); Yap v. Mooncake Food Inc., 146 F. Supp. 3d 552,

 566-67 (S.D.N.Y. 2015) (limiting the notice period to sixty days after finding that “courts in this

 Circuit routinely restrict the opt-in period to 60 days”). Courts within this Circuit routinely

 approve this request. See, e.g., Knox v. John Varvatos Enterprises Inc., 2017 WL 4675781, at *15



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   See also Hernandez, 2017 WL 2829816, at *10 (“Consistent with the decisions of other courts in this
 District, the Court grants Plaintiffs’ request to order the City to provide contact information for potential
 collective action members.”) (citations omitted); Bare Burger, 2013 WL 3199292, at *5 (quoting Sexton v.
 Franklin First Fin., Ltd., 2009 WL 1706535, at *13 (E.D.N.Y. June 16, 2009)) (ordering the production of
 telephone numbers of the potential collective members, finding that “[a]s has been noted by a number of
 courts in this circuit, ‘courts often grant this kind of request in connection with a conditional certification
 of an FLSA collective action’”); Hernandez v. Merrill Lynch & Co., Inc., 2012 WL 1193836, at *7
 (S.D.N.Y. Apr. 6, 2012) (“[I]n this day of electronic communication, courts have authorized defendants to
 provide email address[es] as well.”); Raniere, 827 F. Supp. 2d at 294, 327-28; Young v. Cooper Cameron
 Corp., 229 F.R.D. 50, 56-57 (S.D.N.Y. 2005).


                                                       15
Case 1:24-cv-06263-PKC-RML               Document 21-7          Filed 02/20/25        Page 22 of 25 PageID
                                               #: 113



 (S.D.N.Y. Oct. 17, 2017) (“Moreover, many courts in this district have permitted sending a

 reminder notice.”).3 Thus, because reminder notices help to “facilitate[] the remedial goals of the

 FLSA by protecting potential class members against their claims being extinguished by the running

 limitations period,” the Court should authorize Plaintiffs to send a reminder notice here. Mongiove

 v. Nate’s Corp., 2016 WL 590460, at *7 (E.D.N.Y. Feb. 11, 2016). A proposed Reminder Notice

 is attached as Exhibit B to the Consiglio Declaration.

         Moreover, Plaintiffs should be permitted to send the original and reminder notices by text

 message containing a link to the notices hosted on Plaintiffs’ Counsel’s website, and also by email

 as an attachment, because Plaintiffs declared that they regularly communicated with Defendant

 using their personal cellular phones, often by text message and email. (See Cruz-Pena Decl.).

 Indeed, given the prevalent communication between Plaintiffs with Defendant through cellular

 phones, and consistent with the policy of informing as many individuals as possible, notice by text

 message and email is likely to be a viable and efficient means of communicating with many

 prospective members of this particular collective action. Richards v. Empire Scaffolding Systems,

 Inc., 2022 WL 2384154, at *3 (S.D.N.Y. July 1, 2022) (allowing text messages where the employer

 frequently used text messages to communicate with their employees); Imbarrato v. Banta Mgmt.

 Servs., Inc., 2022 WL 1210868, at *6 (S.D.N.Y. Apr. 25, 2022) (for efficiency reasons, approving

 plaintiffs’ request to disseminate the notice by mail, email, and text message to potential opt-in

 plaintiffs); Serrano, 2022 WL 2467694, at *10 (“A Plaintiff may deviate from the traditional


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   See also, e.g., Racey v. Jay-Jay Cabaret, Inc., 2016 WL 3020933, at *11 (S.D.N.Y. May 23, 2016) (“The
 Court will permit such a [reminder notice], in accordance with the reasoning of other courts in this
 District.”) (collecting cases); Valerio v. RNC Indus., LLC, No. 2:14-cv-03761 (LDW)(AKT), ECF No. 51
 (E.D.N.Y. June 24, 2016) (“[T]he Court joins the prevailing view that sending a reminder notice is
 consistent with the FLSA’s objective of informing potential plaintiffs of the collective action and their right
 to opt-in.”) (citations and internal quotations omitted); Sultonmurodov, 2015 WL 5918415, at *2 (“Sending
 a reminder notice is consistent with the FLSA’s objective of informing potential plaintiffs of the collective
 action and their right to opt-in.”).

                                                       16
Case 1:24-cv-06263-PKC-RML              Document 21-7          Filed 02/20/25        Page 23 of 25 PageID
                                              #: 114



 methods [of mail, email, and text message] generally accepted by courts sitting in this Circuit for

 disseminating notice to the putative collective members where Plaintiff provides justification to

 do so”) (modifications in the original); Cabrera v. Stephens, 2017 WL 4326511, at *8 (E.D.N.Y.

 Sept. 28, 2017) (“Practical requests such as [text messaging and emails] reasonably further the

 purpose of notice of a collective action under the FLSA”); Chamorro v. Bahman Ghermezian, No.

 12–cv–8159 (TPG), ECF No. 17 ¶ 5 (S.D.N.Y. Feb. 25, 2013) (authorizing FLSA notice to be

 distributed by text message).4 A proposed text message is attached as Exhibit C to the Consiglio

 Declaration. A proposed subject line and body of an email, which shall contain the FLSA

 collective action notice (and reminder notice, when appropriate) as an email attachment, is attached

 as Exhibit D to the Consiglio Declaration.

           Thus, Plaintiffs request that this Court authorize Plaintiffs to send a text message and a

 reminder text message containing a link to the original and reminder notices hosted on Plaintiffs’

 Counsel’s website, as well as an email and reminder email with the appropriate notice as an

 attachment.

     IV.      The Court Should Order Equitable Tolling of the FLSA Statute of Limitations

           Should the Court grant the instant motion, Plaintiffs respectfully request that, to avoid

 inequitable circumstances, the FLSA statute of limitations be tolled from the date of filing of this

 motion until such time as the Court resolves this motion. District courts in this Circuit have

 increasingly granted requests for equitable tolling to avoid the prejudice to actual or potential opt-

 in plaintiffs that can arise from the unique procedural posture of such cases. See, e.g., Barron, 2022


 4
   See also Maldonado v. Arcadia Business Corp., 2015 WL 1914933, at *4 (E.D.N.Y. Apr. 27, 2015)
 (“Plaintiff’s counsel is authorized to send the revised notice, opt-in form, and reminder letter to all class
 members by first class mail and email.”); Jackson, 298 F.R.D. at 169 (requiring the defendant to provide
 email addresses to plaintiffs); Pippins v. KPMG LLP, 2012 WL 19379, at *14 (S.D.N.Y. Jan. 3, 2012)
 (“[G]iven the reality of communications today . . . the provision of email addresses and email notice in
 addition to notice by first class mail is entirely appropriate.”).

                                                      17
Case 1:24-cv-06263-PKC-RML            Document 21-7        Filed 02/20/25      Page 24 of 25 PageID
                                            #: 115



 WL 2467595, at *6 (tolling the statute of limitations from the date plaintiffs filed their motion)

 (internal quotations and citations omitted); Jackson v. Bloomberg, L.P., 298 F.R.D. 152, 170-71

 (S.D.N.Y. 2014) (tolling the statute of limitations as of the date of the filing of the plaintiff’s

 motion); Glatt v. Fox Searchlight Pictures Inc., 2013 WL 4834428, at *2 (S.D.N.Y. Aug. 26, 2013)

 (aff’d on other grounds, Glatt, 811 F.3d at 540) (tolling statute of limitations as of the date the

 plaintiff was originally scheduled to file her motion for conditional certification); McGlone v.

 Contract Callers, 867 F. Supp. 2d 438, 445 (S.D.N.Y. 2012) (tolling statute of limitations during

 pendency of conditional certification motion).

        Courts have specifically acknowledged that “[t]he delay required to decide a conditional

 certification motion in an FLSA collective action has itself been accepted as an extraordinary

 circumstance warranting tolling.” Stephens, 2017 WL 4326511, at *7; see also Barron, 2022 WL

 2467595, at *6 (granting tolling during the pendency of plaintiffs’ motion because “[a] delay

 caused by the time required for a court to rule on a motion, such as one for certification of a

 collective action in a FLSA case, may be deemed an extraordinary circumstance justifying

 application of the equitable tolling doctrine.”) (internal quotations and citations omitted); Hart v.

 Crab Addison, 2015 WL 365785, at *5 (W.D.N.Y. Jan. 27, 2015) (holding that equitable tolling

 may be appropriate where “the delay . . . may adversely affect the rights of [collective] members

 who may have no notice of th[e] lawsuit”); Jackson, 298 F.R.D. at 170-71 (ordering equitable

 tolling as of date of filing of conditional certification motion which took seven months to

 decide); McGlone, 867 F. Supp. 2d at 445 (granting request for equitable tolling as of date of filing

 of conditional certification motion which took four months to decide); Yahraes v. Rest. Assocs.

 Events Corp., 2011 WL 844963, at *2 (E.D.N.Y. Mar. 8, 2011) (granting equitable tolling as of

 the dates of service and refiling of conditional certification motion).



                                                  18
Case 1:24-cv-06263-PKC-RML             Document 21-7         Filed 02/20/25       Page 25 of 25 PageID
                                             #: 116



         Here, should the Court’s heavy caseload understandably cause substantial delay in

 resolving this motion, Plaintiffs submit that equitable tolling would be appropriate under those

 circumstances, and this is all the more so as, in light of the abundant case law cited herein, Plaintiffs

 have attempted to solicit Defendant’s consent to the relief that they seek, but Defendant has

 refused. (See Consiglio Decl.).

                                            CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant this motion

 in its entirety.

 Dated: Garden City, New York
        February 20, 2025

                                                 Respectfully submitted,

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                                         By:     __________________________________
                                                    Anthony P. Consiglio




                                                    19
